                         IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                 CHARLOTTE DIVISION

UNITED STATES OF AMERICA,                              )
                                                       )       Case No. 1:03-CR-76-4
               vs.                                     )       (Financial Litigation Unit)
                                                       )
GEORGE T. KISER,                                       )

                                     WRIT OF EXECUTION

TO THE UNITED STATES MARSHAL
and LINCOLN NATIONAL LIFE INSURANCE COMPANY

        A judgment was entered on December 30, 2005, in the United States District Court for the

Western District of North Carolina, in favor of the United States of America and against the

defendant, George T. Kiser, whose last known address is Lebanon, Virginia 24216, in the sum of

$8,150,922.00. The balance on the account as of August 22, 2008 is $8,096,991.50. $3,333,256.19

has been raised through asset forfeiture. It is anticipated that the Department of Justice will request

those funds to be transferred from the United States Marshal Service to the United States Clerk of

Court at the appropriate time for payment as restitution to victims thereby reducing the balance

owed.

        THEREFORE, YOU ARE HEREBY COMMANDED to levy and/or execute on property

and Lincoln National Life Insurance Company is commanded to turn over property in which the

defendant, George T. Kiser, has a substantial nonexempt interest, the said property being funds

located in Lincoln National Life Insurance Company accounts including, but not limited to, account

number XXXXX6487 in the name of George T. Kiser, at the following address: Lincoln National

Life Insurance Company, 350 Church Street, Hartford, CT 27401.


                                                  Signed: August 22, 2008




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